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SY IN THE UNITED STATES DISTRICT COURT
S?FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

0 4C 655

No

BILLY GLOVER,

 

Plaintiff,

-YVS-

OFFICERS J. HURLEY #17516, B. MAKA
#12206) MURPHY #17790, HERRERA #17289,
SUCHOLKI #18391, RICE #16059,
BURZINSKI #3450, FINNIGAN #5167, and
MCGOVERN #4461,

JURY DEMANDED

TWOGE DER-YEGHIAYAN

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CITY OF CHICAGO and CHICAGO POLICE )
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) MAGISTRATE JUDGE LBY iN

Defendants.
COMPLAINT

Now comes the plaintiff, BILLY GLOVER through his attorneys Smith Coffey &
Alexander, Ltd. and for his Complaint against the City of Chicago, and Chicago Police Officers
J. Hurley #17516, Officer B. Maka #12206, Officer Murphy #17790, Officer Herrera #17289,
Officer Sucholki #18391, Officer Rice #16059, Officer Burzinski #3450, Officer Finnigan
#5167, and Officer McGovern #4461, states as follows:

| NATURE OF THE CASE
1. This is a civil action seeking damages against Defendants for committing acts

under the color of law, which deprived Billy Glover of rights secured under the Constitution and

the laws of the United States. Aner °

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JURISDICTION

2. This action is brought pursuant to 42 U.S.C. Sections 1983, and the Fourth, Fifth
and Fourteenth Amendments to the United States Constitution. Jurisdiction is founded upon 28
U.S.C Sections 1331 and 1341(3) and (4) and 1343, and the aforementioned constitutional and
statutory provisions. Plaintiff further invokes the supplemental jurisdiction of this Court pursuant
to Section 1367 to hear and decide claims arising out of state law.

THE PARTIES

3, The Plaintiff Billy Glover is a thirty-two year old, African American citizen, who
resides in the city of Chicago, Cook County, Illinois, and at all times relevant hereto is a citizen
of the United States of America.

4, The Defendants, the Chicago Police Officer J. Hurley #17516, Officer B. Maka
#12206, Officer Murphy #17790, Officer Herrera #17289, Officer Sucholki #18391, Officer
Rice #16059, Officer Burzinski #3450, Officer Finnigan #5167, and Officer McGovern #4461,
(collectively the “individual defendants”) are Caucasian persons employed by the City of
Chicago, Chicago Police Department. They are all sued individually.

5, The Defendant City of Chicago (hereinafter “City”) is a municipality duly
incorporated by the laws of the State of Illinois, and is and was the employer of the police
personnel! named herein as agents of the City. It is sued directly under the Monell Count for
failure to supervise train, control and discipline the defendant officers.

6. At all times relevant hereto, all defendant officers were acting under color of the
statutes, customs, regulations, ordinances, and usage of the State of Illinois, and the Chicago
Police Department (“CPD”), and within the scope of their employment with the Defendant City.

FACTS
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7. On November 25, 2003 Billy Glover was living in, Chicago, Illinois at his
grandparents home in the 9100 Block of South Harvard. Glover was working at Brown’s
Construction, and he also helped take care of his ailing grandfather.

8. On or About November 25, 2003, around 11:30 P.M., Glover was in his
automobile, a 1999 GMC truck, and he had just pulled up to the rear of his grandparent’s home.

9. After parking his truck and while still sitting in his truck after having taken the
keys out of the ignition, Glover saw three police cars converge on the area he was parked. He
noticed lights from flashlights moving towards his truck. The defendant Officers then shined
their flashlights into Glover’s face.

10. Glover had not committed any traffic violations, nor was he violating any laws of
the United States, or the State of Illinois, or the City of Chicago.

li. Glover was not under the influence of alcchol or drugs.

12. Officer Maka came to the driver’s side of Glover’s car and used his fist to bang on
the window. Glover rolled down the driver’s side window and asked the officers “what was the
problem”. Neither officer answered Glover’s question.

13. At this point in time at least four Officers were outside the car. One Defendant
officer toid Glover to get out. Glover again asked them “what was the problem.” None of the
officers answered Glover’s question.

, 14. One Defendant officer asked “where do you live.” Glover said he lived at this
house.

15. Defendant Officers asked Glover to produce a license. Glover provided the

officer with a valid Illinois driver’s license, insurance and registration.
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16. Defendant officers then ordered Glover to get out of the car. Immediately after
this command Officer Maka punched Glover in the face with a closed fist, knocking him back
disorienting Glover.

17. Maka then reached through the window and opened the door. He grabbed Glover,

pulling him out of the car, then struck and pushed him to the ground.

18. ‘Four officers then dragged Glover into the alley. Glover pleaded, “What did I do,
what did I do.” The Officers said “Shut up” and proceeded to pin Glover face down on the
ground with the weight of their bodies and force of their arms. They then cuffed Glover behind
his back so hard that the cuffs were cutting into his wrists. A Defendant Officer searched
Glover’s person. Glover was held face down in the alley with force for ten to fifteen minutes.

19. During this time two officers went into Glover's truck and searched the truck. The
Officers tore up the vehicle, turning over all his personal property and damaging the truck’s
interior. They tore out the air vents in the back of the vehicle and pulled back his dashboard
panel. Nothing illegal was found on Grover’s person or inside his truck.

20, An Officer then proceeded to drive Glover’s truck from the parking area into the
alley throughway.

21. After the Defendant officers searched the truck, two Defendant officers went to
the back of the house in the block of 9100 8. Harvard. Two additional Defendant Officers went
to the front.

22, Inthe home was Glover’s Grandmother, Ardie Johnson, and Glover’s
Grandfather, Clisby Johnson, who rent the home. Mrs. Johnson is in her late seventies and Mr.
Johnson is in his eighties. Mr. Johnson had severe health problems, including Alzheimer’s

disease.
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23. When the Officers knocked on the door Mr. Johnson was in bed. Mrs, Johnson
heard the knocking on the back door and thought it was Glover. She began opening the door.

24. As Mrs. Johnson was opening the door, a Defendant officer pushed through her
physically knocking her back. The Defendant Officers then, without a warrant or consent of any
resident, searched the house. The Officers came into Mr. Johnson’s bedroom. They tore up the
other bedroom. The Defendant Officers took from the house a hunting shotgun and ammunition
for the gun belonging to Pierre D. Glover. Pierre had a Valid Illinois Firearm Owner’s
Identification Card, a receipt in his name for the Mossberg Model 500 shot gun taken from the
home, and valid registration of the weapon. Pierre Glover lived in the home with his
grandparents for long periods of time. Pierre had moved to a new address but had not yet moved
all of his property.

25. During this time Glover had been taken from the alley and placed into the back of
a squad car, still handcuffed. The squad car was driven around to the front of the home.

26. Glover saw his brother in law, Michael Williams and his sister; Cherylle Williams
arrive at the home while the Police were still inside. The Officer in the squad car asked Glover
who they were. Glover told them it was his sister and brother in law. The officer began to pull
the squad car closer to the house. Glover began to tell the Officer that they were coming to check
on his grandparents and that his brother in law was a Sheriff and would see what was going on.
The Officer turned back and hit Glover and said “why didn’t you tell me that before”. The
Officer then reversed and pulled the squad car and Glover away from the home. The Officer then
communicated to other Officers that Williams was a Sheriff.

27. Thereafter, certain Officers left the home and another Officer began to take
charge and talk to the residents. Glover was taken to the police station. Glover was told that he

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could go home if he told the Officer where additional guns were. Glover was held that night and
then sent to Cook County Jail were he remained until he was bonded out on or about November
27, 2004.

28. nan effort to cover up their illegal search of Glover, and illegal search of
Glover’s truck and home, the defendants conspired and agreed among themselves to charge
Glover with unlawful use of a weapon. The defendants created false police reports that included
allegations to support their conspiracy.

29. The Defendant Officers created false police reports in an effort to cover up the
fact that Glover’s truck was searched. They created false reports in an effort to claim that consent
to search was given before the search of the home took place. They created false reports claiming
that a consent was voluntarily signed by Glover’s grandfather. The created false reports claiming
that Glover was not detained or searched before the recovery of the weapon. They created false
reports claiming that Glover said he was holding the gun for his brother.

30. All defendant Officers agreed, conspired and discussed how to write the police
reports in such a way as to show probable cause to detain Glover, and to show that Glover had
been possessing Pierre Glover’s weapon illegally, when they well knew that Glover had been
stopped and searched illegally and had committed no crimes.

31. To this end the defendant Officers, acting in furtherance of the conspiracy,
knowingly filed false charges against Glover and conspired to withhold exculpatory evidence
from prosecutors, defense attorneys and the criminal court.

32, Glover, was charged, booked and processed at the police department and then sent
to the Cook County Department of Corrections. While at the Cook County Department of

Corrections he was processed as a felon, and received a cavity seared for drugs. A bond hearing

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was conducted the following morning and Glover posted $1000.00 dollars and was released from
custody.

33. Glover had to hire an attorney at a cost of $2000.00 dollars.

34. In furtherance of the conspiracy Officer Maka perjured himself before the Judge
Timothy O’Brien on December 22, 2003 at a preliminary hearing in order to get a finding of
probable cause. Maka again perjured himself at the motion to suppress evidence on May 19,
2003.

35. On July 17, 2004, after eleven court appearances, the case was no!le prossed by
the Assistant States Attorney, after a motion to suppress was granted, indicative of the innocence
of Glover and the illegality of the searches.

36. Asa direct and proximate result of the malicious actions of the co-conspiring
Defendants, Glover was injured, including the loss of his freedom, damage to his reputation,
humiliation, pain, suffering the deprivation of his constitutional rights and his dignity, thousands
of dollars in attorney’s fee to successfully fight the bogus charges, hundreds of hours of lost
time, loss of wages, and extreme emotional distress.

COUNT I
Against Officers for Section 1983 Fourth Amendment Violations

1-36, Paragraphs 1 through 36 above are re-alleged here as if fully set forth herein.

37. | The searches and seizures of the plaintiff's person and property, as detailed above,
performed willfully and wantonly by the defendants, individually and in conspiracy with each
other, were in violation of plaintiffs right to be free of unreasonable searches and seizures under

the Fourth Amendment to the Constitution of the United States and 42 U.S.C. sec. 1983.
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38. Asa proximate result of the aforementioned Fourth Amendment violations,
plaintiff was greatly injured, including the deprivation of his liberty and the taking of his
property. In addition, the violations proximately caused the plaintiff great mental anguish and
humiliation, exposed him to public scandal and disgrace, and caused him to incur various
expenses, and loss of wages, all to his damage.

WHEREFORE, the plaintiff demands judgment against the individual officers, jointly
and severally, for compensatory damages in an amount in excess of FIVE HUNDRED
THOUSAND DOLLARS ($500,000) and further demands judgment against each of said
defendants, jointly and severally, for punitive damages in an amount in excess of FIVE
HUNDRED THOUSAND DOLLARS ($500,000), plus attorneys” fees pursuant to statute and
the costs of this action and such other relief as this Court deems just, proper, and equitable.

COUNT II
Against Officers, 1983 Action for Due Process Violation

1-36. Paragraphs | through 36 above are re-alleged as if fully set forth herein.

37. The actions of defendant officers in withholding and concealing material
exculpatory evidence necessary for a fair and impartial trial violated Glover’s right to Due
Process, as guaranteed by the Fourteenth Amendment to the United States Constitution.

38.  Asadirect and proximate result of the aforementioned Due Process violation,
plaintiff was greatly injured, including the loss of his liberty and his property as detailed above.
In addition, the violations proximately caused the plaintiff great mental anguish and humiliation,
exposed him to public scandal and disgrace, and caused him to incur various expenses, all to his

damage.
. Case: 1:04-cv-07652-RQocument #: 1 Filed: 11/24/04 Page 2.of 16 PagelD #:9

WHEREFORE, plaintiff demands judgment against the individual officers, jointly and
severally, for compensatory damages in an amount in excess of FIVE HUNDRED THOUSAND
DOLLARS ($500,000) and further demand judgment against each of said defendants, jointly and
severally, for punitive damages in an amount in excess of FIVE HUNDRED THOUSAND
DOLLARS ($500,000), plus attorneys’ fees pursuant to statute and the costs of this action and
such other relief as this Court deems just, proper, and equitable.

COUNT III
1983 Action Against City for Failure to Properly Instruct, Supervise, Control & Discipline

1-40. Paragraphs 1 through 38 in Count I and paragraphs 37 and 38 of Count II are re-
alleged here as if fully set forth herein, as paragraph 1-40,

A], The Constitutional violations detailed above were only possible for the defendant
officers to perpetrate because of the customs, policies, and practices of CPD, whereby the CITY
failed utterly to instruct, supervise, contro! and discipline the defendant officers.

42. These failures include (1) maintaining an atmosphere and climate where
Constitutional violations are not prosecuted or punished, thus encouraging officers to violate
rather than respect the Constitutional rights of citizens; (2) failure to track, notice, act upon, or
correct patterns of abuse by officers with multiple complaint files, thus encouraging a climate of
Constitutional abuses; (3) using officers involved in abuse complaints to conduct the internal
CPD investigations of the same abuse complaint, thus encouraging a climate where officers feel
that any Constitutional abuses will go unpunished; (4) failure to properly train and supervise
officers in proper procedure for stopping and searching of suspects, thus encouraging a climate
of abuses; (5) failure to train, supervise, or punish officers to prevent them from making false

police reports.
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43. Asadirect and proximate result of these failures, plaintiff was greatly injured,
including the deprivation of his liberty and property. In addition, the violations proximately
caused the plaintiff great mental anguish and humiliation, exposed him to public scandal and
disgrace, and caused him to incur various expenses, all to his damage.

WHEREFORE, plaintiffs demand judgment against the CITY for compensatory damages
in an amount in excess of FIVE HUNDRED THOUSAND DOLLARS ($500,000), plus
attorneys’ fees pursuant to statute and the costs of this action and such other relief as this Court
deems just, proper, and equitable.

Count IV
Malicious Prosecution — State Claim Against City and Officers

1-36. Paragraphs 1 through 36 above are re-alleged here as if fully set forth herein.

37. By participating in the above-described conspiracy, the individual officers sought
to and did in fact maliciously prosecute Billy Glover on false charges for which there was no
probable cause, the felony unlawful use of weapons charges from the November 26, 2003 arrest
by Officers, which charges were resolved in plaintiffs favor by a State motion to nolle prosse
the charges on July 17, 2004, indicative of the innocence of Billy Glover.

38. It was part of the conspiracy to give ongoing false and perjured testimony in order
to incarcerate Billy Glover on the false charge of unlawful use of weapons.

39. The individual officers proceeded with the charges against the plaintiff knowing
they were false.

40. The CITY is sued in this count pursuant to the doctrine of respondeat superior, in
that defendant officers performed the actions complained of while on duty and in the employ of
defendant CITY, and while acting within the scope of this employment.

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41. As adirect and proximate result of these Constitutional violations, Mr. Glover
was damaged, including the value of his liberty for during his incarceration, lost wages, attorneys
fees, pain and suffering, and mental and emotional suffering and anguish.

WHEREFORE, plaintiff demands judgment against the CITY and the individual officers,
jointly and severally, for compensatory damages in amount in excess of FIVE HUNDRED
THOUSAND DOLLARS ($500,000), and further demands judgment against the individual
officers, jointly and severally, for punitive damages in an amount in excess of FIVE HUNDRED
THOUSAND DOLLARS ($500,000), and further demands attorney fees and the costs of this
action, and for such other relief as this Court deems just, proper, and equitable.

Count V
Intentional Infliction of Emotional Distress Against CITY and Officers

1-36. Paragraphs | through 36 are re-alleged as if fully set forth herein.

37. The above detailed conduct by the defendants was extreme and outrageous,
exceeding all bounds of human decency.

38. Defendants performed the acts detailed above with the intent of inflicting severe
emotional distress or with knowledge of the high probability that the conduct would cause such
distress.

39. Asadirect and proximate result of this conduct, plaintiff did in fact suffer severe
emotional distress, resulting in injury to his mind, body, and nervous system, including loss of

sleep, mental anguish, nightmares, and flashbacks.

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40. The CITY is sued in this count pursuant to the doctrine of respondeat superior, in
that defendant officers performed the actions complained of while on duty and in the employ of
defendant CITY, and while acting within the scope of this employment.

WHEREFORE, plaintiff Billy Glover demands judgment against the CITY and the
individual officers, jointly and severally, for compensatory damages in amount in excess of
$500,000, and further demands judgment against the individual officers, jointly and severally, for
punitive damages in an amount in excess of $500,000, and further demands attorney fees and the

costs of this action, and for such other relief as this Court deems just, proper, and equitable.

COUNT VI
False Arrest—State Claim against City and Officers

1-36. Paragraphs 1 through 36 above are re-alleged here as if fully set forth herein.

37. By the actions detailed above, and by participating in the above-described
conspiracy, the individual defendants knowingly sought to and did in fact arrest Glover on false
charges for which they know there was no probable cause.

38. The city is sued in this Count pursuant to the doctrine of respondeat superior, in
that defendant officers performed the actions complained of while on duty and in the employ of
defendant City, and while acting within the scope of this employment.

39, Asaproximate result of the false arrest, plaintiff was greatly injured, including
the deprivation of his liberty, great mental anguish and humiliation, and exposed Plaintiff to
public scandal and disgrace, and caused Plaintiff to incur various expenses, and loss of wages, all

to his damage.

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WHEREFORE, the plaintiff demands judgment against the City and individual
Defendant Officers, jointly and severally, for compensatory damages in an amount in excess of
FIVE HUNDRED THOUSAND DOLLARS ($500,000) and further demands judgment against
each of said Officer defendants, jointly and severally, for punitive damages in an amount in
excess of FIVE HUNDRED THOUSAND DOLLARS ($500,000), plus attorneys’ fees pursuant

to statute and the costs of this action and such other relief as this Court deems just, proper, and

   
 
 
 

 

equitable.
Respectfully submitted,
BILLY GLOYE
wf.
Ont-of his attorneys
Christopher Smith

SMITH, COFFEY & ALEXANDER, LTD.
119 N. Peoria Street, Suite 3A

Chicago, Illinois 60607

(312) 850-2600

FAX (312) 850-2704

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

Civil Cover Sheet

This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in
September 1974, The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The

information contained herein neither replaces nor supplements the filing and service of pleadings or other papers as required
by law. This form is authorized for use only in the Northern District of Illinois.

Defendant(s):CITY OF CHICAGO,and
CHICAGO POLICE OFFICERS J. HURLEY
ee 317516, B. MAKA #12206, MURPHY #17790,
Plaintiff{s): BILLY GLOVER HERRERA #17289, SUCHOLKI #18391, RICE

#16059, BURZINSKI #3450, FINNIGAN #5167,
MCGOVERN #4461

County of Residence: County of Residence:

Plaintiff's Atty: Daniel S. Alexander

Defendant's Atty: -
Smith Coffey & Alexander, Ltd 04 ( wf Ree,
119 N, Peoria, Chicago, IL we

 

 

 

 

 

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IL. Basis of Jurisdiction: 3. Federal Question (U.S. not a party) i GIS | VE af “A VAN)
I. Citizenship of Principal — | - | RARE yp. . .
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Defendant:-N/A NOY 2° 2004
IV. Origin : 1. Original Proceeding

V. Nature of Suit: 440 Other Civil Rights Stes
V1.Cause of Action:

This cause of action is brought pursuant to 42 U.S.C. sec. 1983, and
the United States Constitution a

 

 

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VII. Requested in Complaint ; S&S 3 :
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VUL. This case IS NOT a refiling of a previously dismissed case. oo re 3

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If any of this information is incorrect, “ele go back to the Civil Cover Sheet Input form using the Back button in your browser and change it.
Once correct, print this form, sign and date it and submit it with your new civil action. Note: You may need to adjust the font size
in your browser display to make the form print properly. Revised: 06/28/00

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

In the Matter of EASTERN DIVISION

BILLY GLOVER
Vv.
CITY OF CHICAGO, ET. AL.

 

APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY(S) FOR:

BILLY GLOVER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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